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THEREFORE the Pla'mtiff respectfully asks this court to grant the following:

11 Compensation in the amount of 1-.5 Million Dolla.rs.

 

 

 

 

 

 

 

 

    

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1 am the Plaintiff in the `foregoing Cc)mpmint. lhave read the foragoing Comp.`iaint and the
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Judge James B. Wheells

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THE STATE OF lVlONTANA S.ENDS GREE.T|NGS TO THE ABOVE-NAMED
RESPONDENT:

YOU, THE RESPONDENT, ARE HEREBY SUMMGNED to answer the Petition
in lnle action Which le filed in the office of the above-named Court, a copy of
Wh§cn le herewith served upon you, and lo file your answer and Ser\/e a copy
thereof upon Petilioner‘e attorney Wlthin 21 days after the eervlce of this
Summons, exclusive cline day of eenflce; and in case of your failure to appear
or answer, judgment Wlll be taken against you by default for the relief demanded
in the Petition.

owen under my hand this l \ day cf llgd@ , zoljl

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